Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 1 of 162 Page ID
                                 #:23490




      Attachment A
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 2 of 162 Page ID
                                     #:23491




Subject Activity Log


MARCOS P
                                     Gender:
                                     DOB:                             4 yoa)
                                     Nationality:           EL SAL
                                     Accompanying Adult(s): LIDIA              E




                                     Event:                RGC1806000347
                                     A-File #:             215766769
                                     FINS #:
                                     Disposition:          ER
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/14/2018 2225
Book In Date/Time:  06/15/2018 1656
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




MARCOS P                                                                    Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 3 of 162 Page ID
                                      #:23492

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/14/2018
                        Arrest                 N/A
   2225
06/15/2018
                       Book In                 RGC
   0136
06/15/2018
             Snacks, Milk, Juice Provided      RGC
   0500
06/15/2018
                    Welfare Check              RGC
   0500
06/15/2018
                Served meal(Accepted)          RGC                    Cold Meal
   0500
06/15/2018
                    Welfare Check              RGC
   0843
06/15/2018
             Snacks, Milk, Juice Provided      RGC
   1005
06/15/2018
                Served meal(Accepted)          RGC                    Hot Meal
   1005
06/15/2018
                    Welfare Check              RGC
   1005
06/15/2018
                 Processing Complete           RGC
   1048
06/15/2018
                    Welfare Check              RGC
   1200
06/15/2018
                      In Transit               RGC
   1548
06/15/2018
                      Received                 RGV
   1656
06/15/2018
               Bodily Cleansing Product        RGV
   1700
06/15/2018
               Clean Clothing Provided         RGV
   1700
06/15/2018
             Medical Screening Completed       RGV
   1700
06/15/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1700
06/15/2018
                    Welfare Check              RGV
   1700
06/15/2018
                   Shower Provided             RGV
   1700
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1700                Provided



MARCOS P                                                                          Printed:      8/12/18
DOB:                        A-File #:                                             Page 2 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 4 of 162 Page ID
                                      #:23493




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914


MARCOS P                                                                        Printed:      8/12/18
DOB:               A-File #:                                                    Page 3 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 5 of 162 Page ID
                                 #:23494
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 6 of 162 Page ID
                                     #:23495




Subject Activity Log


ASHLEY O
                                     Gender:                F
                                     DOB:                          (12 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DILSIA          R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/25/2018 0120
Book In Date/Time:  06/25/2018 2003
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ASHLEY O                                                                    Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 7 of 162 Page ID
                                      #:23496

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/25/2018
                        Arrest                 N/A
   0120
06/25/2018
                       Book In                 MCS
   0430
06/25/2018
                    Welfare Check              MCS
   0556
06/25/2018
                    Welfare Check              MCS
   1739
06/25/2018
                Served meal(Accepted)          MCS                    Cold Meal - Sandwich, juice, crackers
   1739
06/25/2018
                    Welfare Check              MCS
   1751
06/25/2018
                      In Transit               MCS
   1902
06/25/2018
                      Received                 RGV
   2003
06/25/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2005                Provided
06/25/2018
             Medical Screening Completed       RGV
   2005
06/25/2018                                                            Cold Meal - Sandwich, chips, apple and
                Served meal(Accepted)          RGV
   2005                                                               water
06/25/2018                                                            showers will be provided once operations
                        Other                  RGV
   2005                                                               resume at 700am.
06/25/2018
                    Welfare Check              RGV
   2005
06/25/2018
                    Welfare Check              RGV
   2111
06/25/2018
                    Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided      RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2201
06/25/2018
                    Welfare Check              RGV
   2243
06/25/2018
                    Welfare Check              RGV
   2314
06/26/2018
                    Welfare Check              RGV
   0005

ASHLEY O                                                                        Printed:      8/12/18
DOB:                        A-File #:                                           Page 2 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 8 of 162 Page ID
                                      #:23497




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/26/2018
                Welfare Check          RGV
   0120
06/26/2018
                Welfare Check          RGV
   0201
06/26/2018
                Welfare Check          RGV
   0213
06/26/2018
                Welfare Check          RGV
   0306
06/26/2018
                Welfare Check          RGV
   0401
06/26/2018
                Welfare Check          RGV
   0505
06/26/2018
                Welfare Check          RGV
   0601
06/26/2018
                Welfare Check          RGV
   0602
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0602
06/26/2018
              UAC Video Shown          RGV
   0603
06/26/2018
               Shower Provided         RGV
   0709
06/26/2018
                Welfare Check          RGV
   0717
06/26/2018
                Welfare Check          RGV
   1104
06/26/2018
              Processing Complete      RGV
   1145
06/26/2018
                Welfare Check          RGV
   1245
06/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1245
06/26/2018
                Welfare Check          RGV
   1508
06/26/2018
                Welfare Check          RGV
   1600
06/26/2018
                Welfare Check          RGV
   1645
06/26/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1645
06/26/2018
                Welfare Check          RGV
   1708


ASHLEY O                                                                  Printed:      8/12/18
DOB:             -File #                                                  Page 3 of 4
Event:
     Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 9 of 162 Page ID
                                      #:23498




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200
06/27/2018
                   Welfare Check              RGV
   0441
06/27/2018
                   Welfare Check              RGV
   0500
06/27/2018
                   Welfare Check              RGV
   0605
06/27/2018
                   Welfare Check              RGV
   0700
06/27/2018
                   Welfare Check              RGV
   0816
06/27/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0816
06/27/2018
                   Welfare Check              RGV
   0820
06/27/2018
                   Perm Book Out              RGV
   1020




ASHLEY O                                                                        Printed:      8/12/18
DOB:               A-File #:                                                    Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 10 of 162 Page ID
                                     #:23499




Subject Activity Log


KEYLIN M
                                     Gender:                F
                                     DOB:                         (16 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DAISE        C




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/22/2018 2045
Book In Date/Time:  06/26/2018 1004
Book Out Date/Time: 06/27/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




KEYLIN M                                                                    Printed:      7/25/18
DOB:                     A-File #:                                          Page 1 of 9
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 11 of 162 Page ID
                                  #:23500
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 12 of 162 Page ID
                                      #:23501




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2019
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2019
06/23/2018
                   Welfare Check              RGV
   2055
06/23/2018
                   Welfare Check              RGV
   2156
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2156
06/23/2018
                   Welfare Check              RGV
   2246
06/23/2018
                   Welfare Check              RGV
   2259
06/23/2018
                   Welfare Check              RGV
   2322


KEYLIN M                                                                         Printed:      7/25/18
DOB:               A-File #:                                                     Page 3 of 9
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 13 of 162 Page ID
                                  #:23502
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 14 of 162 Page ID
                                  #:23503
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 15 of 162 Page ID
                                  #:23504
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 16 of 162 Page ID
                                      #:23505




                                            Station /
Date/Time             Activity                          Agent Name                     Comments
                                            Facility
06/26/2018
                   Welfare Check              BRP
   0100
06/26/2018
                   Welfare Check              BRP
   0200
06/26/2018
                   Welfare Check              BRP
   0300
06/26/2018
                Served meal(Refused)          BRP                    Sleeping.
   0332
06/26/2018
                   Welfare Check              BRP
   0332
06/26/2018
                   Welfare Check              BRP
   0400
06/26/2018
                   Welfare Check              BRP
   0500
06/26/2018
                   Welfare Check              BRP
   0600
06/26/2018
             Snacks, Milk, Juice Provided     BRP                    Flavored drink.
   0604
06/26/2018
               Served meal(Accepted)          BRP                    Hot Meal - Burrito.
   0604
06/26/2018
                   Welfare Check              BRP
   0604
06/26/2018
                   Welfare Check              BRP
   0715
06/26/2018
             Snacks, Milk, Juice Provided     BRP                    granola bar juice
   0716
06/26/2018
                   Welfare Check              BRP
   0716
06/26/2018
                   Welfare Check              BRP
   0747
06/26/2018
                      In Transit              BRP
   0820
06/26/2018
                      Received                RGV
   1004
06/26/2018
                  Shower Provided             RGV
   1023
06/26/2018
              Medical Treatment (OBP)         RGV
   1023
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1023
06/26/2018
                   Welfare Check              RGV
   1023


KEYLIN M                                                                         Printed:      7/25/18
DOB:               A-File #:                                                     Page 7 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 17 of 162 Page ID
                                      #:23506




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1052
06/26/2018
                   Welfare Check              RGV
   1104
06/26/2018
                   Welfare Check              RGV
   1245
06/26/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1245
06/26/2018
                   Welfare Check              RGV
   1508
06/26/2018
                   Welfare Check              RGV
   1600
06/26/2018
                   Welfare Check              RGV
   1645
06/26/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1645
06/26/2018
                   Welfare Check              RGV
   1708
06/26/2018
                   Welfare Check              RGV
   1800
06/26/2018
             Rejoined With Family Unit        RGV                    Family visit.
   1830
06/26/2018
                   Welfare Check              RGV
   1900
06/26/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1915
06/26/2018
             Snacks, Milk, Juice Provided     RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2003
06/26/2018
                   Welfare Check              RGV
   2102
06/26/2018
                   Welfare Check              RGV
   2205
06/26/2018
                   Welfare Check              RGV
   2303
06/26/2018
                   Welfare Check              RGV
   2314
06/27/2018
                   Welfare Check              RGV
   0100
06/27/2018
                   Welfare Check              RGV
   0200


KEYLIN M                                                                         Printed:      7/25/18
DOB:               A-File #:                                                     Page 8 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 18 of 162 Page ID
                                      #:23507




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/27/2018
                Welfare Check          RGV
   0441
06/27/2018
                Welfare Check          RGV
   0500
06/27/2018
                Welfare Check          RGV
   0605
06/27/2018
                Welfare Check          RGV
   0700
06/27/2018
                Welfare Check          RGV
   0816
06/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0816
06/27/2018
                Welfare Check          RGV
   0820
06/27/2018
                Perm Book Out          RGV
   1020




KEYLIN M                                                                 Printed:      7/25/18
DOB:            A-File #:                                                Page 9 of 9
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 19 of 162 Page ID
                                     #:23508




Subject Activity Log


DIXIANA S
                                     Gender:                F
                                     DOB:                         (10 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): DIXIA          S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/24/2018 0015
Book In Date/Time:  05/24/2018 1030
Book Out Date/Time: 05/27/2018 1258

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




DIXIANA S                                                                   Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 20 of 162 Page ID
                                  #:23509
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 21 of 162 Page ID
                                      #:23510




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/24/2018
             Served meal(Accepted)     RGV                    Cold Meal - SNACK/DRINK
   1615
05/24/2018
                Welfare Check          RGV                    ALL OK.
   1702
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1800
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   1900
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2001
05/24/2018
                Welfare Check          RGV                    ALL IS OK.
   2100
05/24/2018
                Welfare Check          RGV
   2245
05/24/2018
                Welfare Check          RGV
   2300
05/25/2018
                Welfare Check          RGV
   0000
05/25/2018
                Welfare Check          RGV
   0100
05/25/2018
                Welfare Check          RGV
   0200
05/25/2018
                Welfare Check          RGV
   0300
05/25/2018
                Welfare Check          RGV
   0400
05/25/2018
                Welfare Check          RGV
   0440
05/25/2018
                Welfare Check          RGV
   0515
05/25/2018
                Welfare Check          RGV
   0543
05/25/2018
                Welfare Check          RGV
   0632
05/25/2018
                Welfare Check          RGV
   0700
05/25/2018
                Welfare Check          RGV
   0745
05/25/2018
                Welfare Check          RGV
   0748
05/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0748


DIXIANA S                                                                Printed:      8/11/18
DOB:            A-File #:                                                Page 3 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 22 of 162 Page ID
                                  #:23511
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 23 of 162 Page ID
                                      #:23512




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/26/2018
                Welfare Check          RGV
   0201
05/26/2018
                Welfare Check          RGV
   0308
05/26/2018
                Welfare Check          RGV
   0402
05/26/2018
                Welfare Check          RGV
   0520
05/26/2018
                Welfare Check          RGV
   0630
05/26/2018
                Welfare Check          RGV
   0644
05/26/2018
                Welfare Check          RGV
   0651
05/26/2018
                Welfare Check          RGV
   0810
05/26/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0810
05/26/2018
                Welfare Check          RGV
   0908
05/26/2018
                Welfare Check          RGV
   0957
05/26/2018
                Welfare Check          RGV
   1057
05/26/2018
                Welfare Check          RGV
   1201
05/26/2018
                Welfare Check          RGV
   1302
05/26/2018
              Processing Complete      RGV
   1403
05/26/2018
                Welfare Check          RGV
   1514
05/26/2018
                Welfare Check          RGV
   1605
05/26/2018
                Welfare Check          RGV
   1706
05/26/2018
                Welfare Check          RGV
   1757
05/26/2018
                Welfare Check          RGV
   1902
05/26/2018
                Welfare Check          RGV
   1959


DIXIANA S                                                                Printed:      8/11/18
DOB:            A-File #:                                                Page 5 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 24 of 162 Page ID
                                  #:23513
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 25 of 162 Page ID
                                      #:23514




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1027
05/27/2018
                Welfare Check          RGV
   1115
05/27/2018
                Welfare Check          RGV
   1159
05/27/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1159
05/27/2018
                Perm Book Out          RGV
   1258




DIXIANA                                                                  Printed:      8/11/18
DOB:            A-File #:                                                Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 26 of 162 Page ID
                                     #:23515




Subject Activity Log


ASHLI R
                                     Gender:                F
                                     DOB:                           (6 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): ANA         M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/05/2018 0505
Book In Date/Time:  05/05/2018 0905
Book Out Date/Time: 05/09/2018 1011

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ASHLI R                                                                      Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 6
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 27 of 162 Page ID
                                      #:23516

                                     Subject Activity Log


                                      Station /
Date/Time          Activity                       Agent Name                    Comments
                                      Facility
05/05/2018
                    Arrest              N/A
   0505
05/05/2018
                   Book In              RGV
   0905
05/05/2018
                Welfare Check           RGV
   0913
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   0913
05/05/2018
                Welfare Check           RGV
   0917
05/05/2018
              UAC Video Shown           RGV
   0918
05/05/2018
                Welfare Check           RGV
   1245
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   1245
05/05/2018
                Welfare Check           RGV
   1256
05/05/2018
             Served meal(Accepted)      RGV                    Hot Meal
   1256
05/05/2018
                Welfare Check           RGV
   1514
05/05/2018
                Welfare Check           RGV
   1600
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal
   1600
05/05/2018
                Welfare Check           RGV
   1910
05/05/2018
                Welfare Check           RGV
   2018
05/05/2018
                Welfare Check           RGV
   2116
05/05/2018
                Welfare Check           RGV
   2202
05/05/2018
             Served meal(Accepted)      RGV                    Cold Meal - Snacks
   2202
05/06/2018
               Shower Provided          RGV
   0721
05/06/2018
                Welfare Check           RGV
   0802



ASHLI R                                                                    Printed:      8/8/18
DOB:                    A-File #:                                          Page 2 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 28 of 162 Page ID
                                  #:23517
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 29 of 162 Page ID
                                  #:23518
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 30 of 162 Page ID
                                  #:23519
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 31 of 162 Page ID
                                      #:23520




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/09/2018
                Welfare Check          RGV
   0700
05/09/2018
                Welfare Check          RGV
   0701
05/09/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0701
05/09/2018
                Welfare Check          RGV
   0800
05/09/2018
                Perm Book Out          RGV
   1011




ASHLI R                                                                  Printed:      8/8/18
DOB:             -File #:                                                Page 6 of 6
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 32 of 162 Page ID
                                  #:23521
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 33 of 162 Page ID
                                      #:23522

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/15/2018
                        Arrest                 N/A
   1205
05/15/2018
                       Book In                 MCS
   1328
05/15/2018
                    Welfare Check              MCS
   1342
05/16/2018
                      In Transit               MCS
   0114
05/16/2018
                      Received                 RGV
   0206
05/16/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0215                Provided
05/16/2018
             Medical Screening Completed       RGV
   0215
05/16/2018                                                            Subject will shower in the morning when
                        Other                  RGV
   0215                                                               staff arrives
05/16/2018
                    Welfare Check              RGV
   0215
05/16/2018
             Snacks, Milk, Juice Provided      RGV
   0215
05/16/2018
                    Welfare Check              RGV
   0255
05/16/2018
                    Welfare Check              RGV
   0413
05/16/2018
                    Welfare Check              RGV
   0523
05/16/2018
                    Welfare Check              RGV
   0751
05/16/2018
                 UAC Video Shown               RGV                    know what to expect
   0751
05/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - FED
   0751
05/16/2018
                    Welfare Check              RGV
   0757
05/16/2018
                Served meal(Accepted)          RGV                    Hot Meal - fed
   0757
05/16/2018
               Bodily Cleansing Product        RGV
   0832
05/16/2018
               Dental Hygiene Product          RGV
   0832



ASHLEY M                                                                        Printed:      8/8/18
DOB:                        A-File #:                                           Page 2 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 34 of 162 Page ID
                                      #:23523




                                            Station /
Date/Time              Activity                         Agent Name                   Comments
                                            Facility
05/16/2018
               Clean Clothing Provided        RGV
   0832
05/16/2018
                   Shower Provided            RGV
   0832
05/16/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0832                Provided
05/16/2018
                    Welfare Check             RGV
   0943
05/16/2018
                    Welfare Check             RGV
   1001
05/16/2018
                    Welfare Check             RGV
   1004
05/16/2018
                    Welfare Check             RGV
   1142
05/16/2018
                    Welfare Check             RGV
   1203
05/16/2018
                    Welfare Check             RGV
   1311
05/16/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1311
05/16/2018
                    Welfare Check             RGV
   1423
05/16/2018
                    Welfare Check             RGV                    At 1600 hrs.
   1612
05/16/2018
                Served meal(Accepted)         RGV                    Cold Meal - All meals served at 1600 hrs.
   1612
05/16/2018
                    Welfare Check             RGV                    At 1700
   1701
05/16/2018
                    Welfare Check             RGV                    At 1815
   1820
05/16/2018
                    Welfare Check             RGV
   1928
05/16/2018
                    Welfare Check             RGV
   2000
05/16/2018
                    Welfare Check             RGV
   2058
05/16/2018
                    Welfare Check             RGV
   2209
05/16/2018
                Served meal(Accepted)         RGV                    Cold Meal - Snacks
   2209
05/17/2018
                    Welfare Check             RGV
   0027


ASHLEY M                                                                        Printed:      8/8/18
DOB:                 -File #:                                                   Page 3 of 9
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 35 of 162 Page ID
                                  #:23524
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 36 of 162 Page ID
                                      #:23525




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
05/17/2018
                   Welfare Check              RGV
   1915
05/17/2018
                   Welfare Check              RGV
   2004
05/17/2018
                   Welfare Check              RGV
   2109
05/17/2018
             Snacks, Milk, Juice Provided     RGV
   2201
05/17/2018
                   Welfare Check              RGV
   2201
05/17/2018
                   Welfare Check              RGV
   2300
05/18/2018
                   Welfare Check              RGV
   0044
05/18/2018
                   Welfare Check              RGV
   0108
05/18/2018
                   Welfare Check              RGV
   0201
05/18/2018
                   Welfare Check              RGV
   0226
05/18/2018
                   Welfare Check              RGV
   0239
05/18/2018
                   Welfare Check              RGV
   0302
05/18/2018
                   Welfare Check              RGV
   0333
05/18/2018
                   Welfare Check              RGV
   0401
05/18/2018
                   Welfare Check              RGV
   0416
05/18/2018
                   Welfare Check              RGV
   0458
05/18/2018
                   Welfare Check              RGV
   0527
05/18/2018
                   Welfare Check              RGV
   0602
05/18/2018
                   Welfare Check              RGV
   0647
05/18/2018
                 UAC Video Shown              RGV
   0647
05/18/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0647


ASHLEY M                                                                        Printed:      8/8/18
DOB:               A-File #:                                                    Page 5 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 37 of 162 Page ID
                                      #:23526




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/18/2018
                   Welfare Check              RGV
   0755
05/18/2018
                   Welfare Check              RGV
   0857
05/18/2018
                   Welfare Check              RGV
   0956
05/18/2018
                   Welfare Check              RGV
   1058
05/18/2018
                   Welfare Check              RGV
   1239
05/18/2018
                   Welfare Check              RGV
   1410
05/18/2018
                   Welfare Check              RGV
   1609
05/18/2018
                   Welfare Check              RGV
   1657
05/18/2018
                   Welfare Check              RGV
   1658
05/18/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1658
05/18/2018
                   Welfare Check              RGV
   1814
05/18/2018
                   Welfare Check              RGV
   1905
05/18/2018
                   Welfare Check              RGV
   2022
05/18/2018
                   Welfare Check              RGV
   2107
05/18/2018
             Snacks, Milk, Juice Provided     RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2155
05/18/2018
                   Welfare Check              RGV
   2332
05/19/2018
                   Welfare Check              RGV
   0000
05/19/2018
                   Welfare Check              RGV
   0030
05/19/2018
               Served meal(Accepted)          RGV                    Cold Meal - SNACKS
   0030
05/19/2018
                   Welfare Check              RGV
   0145


ASHLEY M                                                                         Printed:      8/8/18
DOB:               A-File #:                                                     Page 6 of 9
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 38 of 162 Page ID
                                      #:23527




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
05/19/2018
                Welfare Check          RGV
   0207
05/19/2018
                Welfare Check          RGV
   0216
05/19/2018
                Welfare Check          RGV
   0233
05/19/2018
                Welfare Check          RGV
   0309
05/19/2018
                Welfare Check          RGV
   0317
05/19/2018
                Welfare Check          RGV
   0342
05/19/2018
                   In Transit          RGV
   0353
05/19/2018
                   Received            HRL
   0549
05/19/2018
                Welfare Check          HRL
   0633
05/19/2018
               Shower Provided         HRL                    no shower facilities available at hrl
   0634
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   0639
05/19/2018
                Welfare Check          HRL
   0639
05/19/2018
                Welfare Check          HRL
   0722
05/19/2018
             Served meal(Accepted)     HRL                    Hot Meal - with juice and chips
   0722
05/19/2018
                Welfare Check          HRL
   0920
05/19/2018
                Welfare Check          HRL
   0936
05/19/2018
               Shower Provided         HRL                    HRL DOES NOT PROVIDE SHOWERS
   1026
05/19/2018
                Welfare Check          HRL
   1026
05/19/2018
                Welfare Check          HRL
   1028
05/19/2018
                Welfare Check          HRL
   1106
05/19/2018
                Welfare Check          HRL
   1202


ASHLEY M                                                                 Printed:      8/8/18
DOB:             -File #:                                                Page 7 of 9
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 39 of 162 Page ID
                                  #:23528
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 40 of 162 Page ID
                                  #:23529
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 41 of 162 Page ID
                                     #:23530




Subject Activity Log


ANDREA L
                                     Gender:                F
                                     DOB:                         (11 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): ANA       P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/20/2018 1800
Book In Date/Time:  06/22/2018 0123
Book Out Date/Time: 06/24/2018 1106

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ANDREA                                                                      Printed:      7/25/18
DOB:                     A-File #:                                          Page 1 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 42 of 162 Page ID
                                      #:23531

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/20/2018
                        Arrest                 N/A
   1800
06/20/2018
                       Book In                 MCS
   1956
06/20/2018
             Snacks, Milk, Juice Provided      MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2116
06/20/2018
             Medical Screening Completed       MCS
   2116
06/20/2018
                   Welfare Check               MCS
   2204
06/21/2018
                   Welfare Check               MCS
   0110
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal - sandwich juice
   0110
06/21/2018
                   Welfare Check               MCS
   0830
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0830
06/21/2018                                                            ALL SUBJECTS WERE GIVEN SPACE
                        Other                  MCS
   0830                                                               BLACKETS
06/21/2018
                   Welfare Check               MCS
   1831
06/21/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1831
06/22/2018
                      In Transit               MCS
   0109
06/22/2018
                      Received                 RGV
   0123
06/22/2018
                   Welfare Check               RGV
   0152
06/22/2018
                   Welfare Check               RGV
   0459
06/22/2018
                   Welfare Check               RGV
   0606
06/22/2018
                   Welfare Check               RGV
   0700
06/22/2018
                   Welfare Check               RGV
   0753



ANDREA L                                                                          Printed:      7/25/18
DOB:                        A-File #:                                             Page 2 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 43 of 162 Page ID
                                      #:23532




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
                    Welfare Check             RGV
   0800
06/22/2018
                    Welfare Check             RGV
   0803
06/22/2018
                    Welfare Check             RGV
   0815
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0815
06/22/2018
                    Welfare Check             RGV
   0905
06/22/2018
                    Welfare Check             RGV
   0935
06/22/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0937                Provided
06/22/2018
             Medical Screening Completed      RGV
   0937
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0937
06/22/2018
                    Welfare Check             RGV
   0937
06/22/2018
                   Shower Provided            RGV
   0937
06/22/2018
                    Welfare Check             RGV
   1004
06/22/2018
                 Processing Complete          RGV
   1023
06/22/2018
                    Welfare Check             RGV
   1103
06/22/2018
                    Welfare Check             RGV
   1110
06/22/2018
                    Welfare Check             RGV
   1222
06/22/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1222
06/22/2018
                    Welfare Check             RGV
   1733
06/22/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1733
06/22/2018
                    Welfare Check             RGV
   1813
06/22/2018
                    Welfare Check             RGV
   1904


ANDREA                                                                           Printed:      7/25/18
DOB:               A-File #:                                                     Page 3 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 44 of 162 Page ID
                                      #:23533




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2019
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   2019
06/23/2018
                   Welfare Check              RGV
   2055


ANDREA L                                                                         Printed:      7/25/18
DOB:                -File #:                                                     Page 4 of 5
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 45 of 162 Page ID
                                      #:23534




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/23/2018
                Welfare Check          RGV
   2156
06/23/2018
             Served meal(Accepted)     RGV                    Cold Meal
   2156
06/23/2018
                Welfare Check          RGV
   2246
06/23/2018
                Welfare Check          RGV
   2259
06/23/2018
                Welfare Check          RGV
   2322
06/24/2018
                Welfare Check          RGV
   0007
06/24/2018
                Welfare Check          RGV
   0119
06/24/2018
                Welfare Check          RGV
   0225
06/24/2018
                Welfare Check          RGV
   0309
06/24/2018
                Welfare Check          RGV
   0400
06/24/2018
                Welfare Check          RGV
   0513
06/24/2018
                Welfare Check          RGV
   0719
06/24/2018
                Welfare Check          RGV
   0744
06/24/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/24/2018
                Welfare Check          RGV
   0805
06/24/2018
                Welfare Check          RGV
   0901
06/24/2018
                Perm Book Out          RGV
   1106




ANDREA L                                                                  Printed:      7/25/18
DOB:            A-File #:                                                 Page 5 of 5
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 46 of 162 Page ID
                                     #:23535




Subject Activity Log


ANTHONY R
                                     Gender:                M
                                     DOB:                         (4 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): JEYDI         M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/05/2018 1650
Book In Date/Time:  06/06/2018 1141
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ANTHONY R                                                                   Printed:      8/12/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 47 of 162 Page ID
                                      #:23536

                                       Subject Activity Log


                                        Station /
Date/Time           Activity                        Agent Name                   Comments
                                        Facility
06/05/2018
                     Arrest               N/A
   1650
06/05/2018
                    Book In               FTB
   1650
06/05/2018
                 Welfare Check            FTB                    P263
   2112
06/05/2018
              Served meal(Accepted)       FTB                    Cold Meal - P263
   2112
06/05/2018
                 Welfare Check            FTB
   2321
06/05/2018
                 Welfare Check            FTB
   2322
06/05/2018                                                       Hot Meal - Subject served a meal, snack
              Served meal(Accepted)       FTB
   2322                                                          and drink
06/06/2018
                 Welfare Check            FTB
   0339
06/06/2018
                 Welfare Check            FTB
   0426
06/06/2018                                                       Hot Meal - Subject is asleep and will be fed
              Served meal(Accepted)       FTB
   0426                                                          breakfast in the morning.
06/06/2018
                 Welfare Check            FTB
   0732
06/06/2018
               Processing Complete        FTB
   0810
06/06/2018
                 Welfare Check            FTB
   0909
06/06/2018
              Served meal(Accepted)       FTB                    Hot Meal
   0909
06/06/2018
                    In Transit            FTB
   0910
06/06/2018
                    Received              RGV
   1141
06/06/2018
                Shower Provided           RGV
   1142
06/06/2018
             Medical Treatment (OBP)      RGV
   1142
06/06/2018
              Served meal(Accepted)       RGV                    Hot Meal
   1142
06/06/2018
                 Welfare Check            RGV
   1142



ANTHONY R                                                                   Printed:      8/12/18
DOB:                      A-File #:                                         Page 2 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 48 of 162 Page ID
                                  #:23537
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 49 of 162 Page ID
                                      #:23538




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
06/07/2018
               Perm Book Out       RGV
   1020




ANTHONY R                                                      Printed:      8/12/18
DOB:           A-File #:                                       Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 50 of 162 Page ID
                                     #:23539




Subject Activity Log


KENSY P
                                     Gender:                F
                                     DOB:                          5 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): EYDI         P




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
                                                    Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 1415
Book In Date/Time:  06/12/2018 2359
Book Out Date/Time: 06/16/2018 1044

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




KENSY P                                                                     Printed:      8/8/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 51 of 162 Page ID
                                      #:23540

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   1415
06/12/2018
                       Book In                 MCS
   1626
06/12/2018
                    Welfare Check              MCS
   1747
06/12/2018
                    Welfare Check              MCS
   1748
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   1748
06/12/2018
                    Welfare Check              MCS
   1837
06/12/2018
                    Welfare Check              MCS
   2002
06/12/2018
                    Welfare Check              MCS
   2143
06/12/2018
                    Welfare Check              MCS
   2215
06/12/2018
                Served meal(Accepted)          MCS                    Cold Meal
   2215
06/12/2018
                    Welfare Check              MCS
   2242
06/12/2018
                      In Transit               MCS
   2329
06/12/2018
                      Received                 RGV
   2359
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0000                Provided
06/13/2018
                 UAC Video Shown               RGV
   0000
06/13/2018
             Medical Screening Completed       RGV
   0000
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   0000
06/13/2018
                    Welfare Check              RGV
   0000
06/13/2018
             Snacks, Milk, Juice Provided      RGV
   0000




KENSY P                                                                           Printed:      8/8/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 52 of 162 Page ID
                                  #:23541
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 53 of 162 Page ID
                                      #:23542




                                     Station /
Date/Time           Activity                     Agent Name                    Comments
                                     Facility
06/13/2018
                 Welfare Check         RGV
   1526
06/13/2018
                 Welfare Check         RGV
   1614
06/13/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1614
06/13/2018
                 Welfare Check         RGV
   1622
06/13/2018
                 Welfare Check         RGV
   1805
06/13/2018
                 Welfare Check         RGV
   1816
06/13/2018
             FOJC and ORR Notified     RGV                    Transaction ID:
   1825
06/13/2018
                 Welfare Check         RGV
   1911
06/13/2018
                Telephone Used         RGV
   1917
06/13/2018
                 Welfare Check         RGV
   1924
06/13/2018
                 Welfare Check         RGV
   2022
06/13/2018
                 Welfare Check         RGV
   2103
06/13/2018
                 Welfare Check         RGV
   2300
06/14/2018
                 Welfare Check         RGV
   0001
06/14/2018
                 Welfare Check         RGV
   0100
06/14/2018
                 Welfare Check         RGV
   0200
06/14/2018
                 Welfare Check         RGV
   0303
06/14/2018
                 Welfare Check         RGV
   0306
06/14/2018
                 Welfare Check         RGV
   0401
06/14/2018
                 Welfare Check         RGV
   0501
06/14/2018
                 Welfare Check         RGV
   0733


KENSY P                                                                   Printed:      8/8/18
DOB:              -File #:                                                Page 4 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 54 of 162 Page ID
                                  #:23543
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 55 of 162 Page ID
                                  #:23544
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 56 of 162 Page ID
                                      #:23545




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
                   Welfare Check              RGV
   1500
06/15/2018
                   Welfare Check              RGV
   1538
06/15/2018
                   Welfare Check              RGV
   1600
06/15/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
06/15/2018
                   Welfare Check              RGV
   1701
06/15/2018
                   Welfare Check              RGV
   1800
06/15/2018
             Rejoined With Family Unit        RGV                    Family visit
   1800
06/15/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                   Welfare Check              RGV
   1901
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742


KENSY P                                                                          Printed:      8/8/18
DOB:               A-File #:                                                     Page 7 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 57 of 162 Page ID
                                  #:23546
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 58 of 162 Page ID
                                     #:23547




Subject Activity Log


KATHERINE E
                                     Gender:                F
                                     DOB:                           (16 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): SILVIA           F




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/12/2018 1630
Book In Date/Time:  06/13/2018 1541
Book Out Date/Time: 06/16/2018 1358

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




KATHERINE E                                                                  Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 59 of 162 Page ID
                                      #:23548

                                       Subject Activity Log


                                        Station /
Date/Time            Activity                       Agent Name                    Comments
                                        Facility
06/12/2018
                      Arrest              N/A
   1630
06/12/2018
                     Book In              FLF
   1759
06/12/2018
                  Welfare Check           FLF
   1909
06/12/2018
                  Welfare Check           FLF
   2245
06/12/2018
               Served meal(Accepted)      FLF                    Hot Meal
   2245
06/13/2018
                  Welfare Check           FLF
   0004
06/13/2018
              FOJC and ORR Notified       FLF                    Transaction ID:
   0009
06/13/2018
                  Welfare Check           FLF
   0201
06/13/2018
               Served meal(Accepted)      FLF                    Cold Meal
   0201
06/13/2018
                  Welfare Check           FLF
   0502
06/13/2018
                UAC Video Shown           FLF
   0537
06/13/2018
                Processing Complete       FLF
   0722
06/13/2018
                  Welfare Check           FLF
   0817
06/13/2018
              ORR Placement Received      FLF
   0827
06/13/2018
               Served meal(Accepted)      FLF                    Cold Meal - sandwich
   0827
06/13/2018
                  Welfare Check           FLF
   0827
06/13/2018
                  Welfare Check           FLF                    F285
   0925
06/13/2018
                  Welfare Check           FLF
   1029
06/13/2018
                  Welfare Check           FLF
   1107
06/13/2018
                     In Transit           FLF
   1224



KATHERINE E                                                                  Printed:      8/8/18
DOB:                       A-File #:                                         Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 60 of 162 Page ID
                                  #:23549
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 61 of 162 Page ID
                                      #:23550




                                      Station /
Date/Time           Activity                      Agent Name                    Comments
                                      Facility
06/14/2018
                 Welfare Check          RGV
   0001
06/14/2018
                 Welfare Check          RGV
   0100
06/14/2018
                 Welfare Check          RGV
   0200
06/14/2018
                 Welfare Check          RGV
   0303
06/14/2018
                 Welfare Check          RGV
   0306
06/14/2018
                 Welfare Check          RGV
   0401
06/14/2018
                 Welfare Check          RGV
   0501
06/14/2018
                 Welfare Check          RGV
   0733
06/14/2018
               UAC Video Shown          RGV
   0733
06/14/2018
              Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                 Welfare Check          RGV
   0801
06/14/2018
                 Welfare Check          RGV
   0905
06/14/2018
                 Welfare Check          RGV
   1012
06/14/2018
                 Welfare Check          RGV
   1100
06/14/2018
                 Welfare Check          RGV
   1221
06/14/2018
              Served meal(Accepted)     RGV                    Cold Meal
   1221
06/14/2018
                 Welfare Check          RGV
   1310
06/14/2018
                 Welfare Check          RGV
   1404
06/14/2018
                 Welfare Check          RGV
   1517
06/14/2018
                 Welfare Check          RGV
   1602
06/14/2018
                 Welfare Check          RGV
   1611


KATHERINE E                                                                Printed:      8/8/18
DOB:              -File #:                                                 Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 62 of 162 Page ID
                                      #:23551




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/14/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1611
06/14/2018
                   Welfare Check              RGV
   1701
06/14/2018
                 UAC Video Shown              RGV
   1712
06/14/2018
                   Welfare Check              RGV
   1813
06/14/2018
                   Welfare Check              RGV
   1941
06/14/2018
                   Telephone Used             RGV
   1945
06/14/2018
                   Welfare Check              RGV
   2008
06/14/2018
             Snacks, Milk, Juice Provided     RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2009
06/14/2018
                   Welfare Check              RGV
   2111
06/14/2018
                   Welfare Check              RGV
   2222
06/14/2018
                   Welfare Check              RGV
   2300
06/15/2018
                   Welfare Check              RGV
   0011
06/15/2018
                   Welfare Check              RGV
   0100
06/15/2018
                   Welfare Check              RGV
   0354
06/15/2018
                   Welfare Check              RGV
   0400
06/15/2018
                   Welfare Check              RGV
   0500
06/15/2018
                 UAC Video Shown              RGV
   0700
06/15/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0705
06/15/2018
                   Welfare Check              RGV
   0712
06/15/2018
                   Welfare Check              RGV
   0800


KATHERINE E                                                                      Printed:      8/8/18
DOB:                -File #:                                                     Page 5 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 63 of 162 Page ID
                                  #:23552
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 64 of 162 Page ID
                                  #:23553
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 65 of 162 Page ID
                                     #:23554




Subject Activity Log


VALENTINA U
                                     Gender:                F
                                     DOB:                           (3 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): YASMIN              R




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/03/2018 1650
Book In Date/Time:  06/04/2018 0119
Book Out Date/Time: 06/07/2018 1020

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




VALENTINA U                                                                  Printed:      8/8/18
DOB:                     A-File #:                                           Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 66 of 162 Page ID
                                      #:23555

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                  Comments
                                             Facility
06/03/2018
                        Arrest                 N/A
   1650
06/03/2018
                       Book In                 MCS
   1854
06/04/2018
                      In Transit               MCS
   0117
06/04/2018
                      Received                 RGV
   0119
06/04/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   0120                Provided
06/04/2018
                   Shower Provided             RGV                    Shower will be provided at 0700 hrs.
   0120
06/04/2018
                    Welfare Check              RGV                    Subject arrived well
   0120
06/04/2018
                Served meal(Accepted)          RGV                    Cold Meal - Snack provided upon arrival
   0120
06/04/2018
              Medical Treatment (OBP)          RGV                    Examined and cleared by Ursula Medical
   0120
06/04/2018
                    Welfare Check              RGV
   0203
06/04/2018
                    Welfare Check              RGV
   0257
06/04/2018
                    Welfare Check              RGV
   0321
06/04/2018
                    Welfare Check              RGV
   0402
06/04/2018
                    Welfare Check              RGV
   0403
06/04/2018
                    Welfare Check              RGV
   0459
06/04/2018
                    Welfare Check              RGV
   0613
06/04/2018
               Bodily Cleansing Product        RGV
   0640
06/04/2018
               Dental Hygiene Product          RGV
   0640
06/04/2018
               Clean Clothing Provided         RGV
   0640
06/04/2018
                   Shower Provided             RGV
   0640



VALENTINA U                                                                     Printed:      8/8/18
DOB:                        A-File #:                                           Page 2 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 67 of 162 Page ID
                                  #:23556
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 68 of 162 Page ID
                                      #:23557




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/04/2018
             Snacks, Milk, Juice Provided     RGV
   2155
06/04/2018
                   Welfare Check              RGV
   2155
06/05/2018
                   Welfare Check              RGV
   0238
06/05/2018
                   Welfare Check              RGV
   0300
06/05/2018
                   Welfare Check              RGV
   0305
06/05/2018
                   Welfare Check              RGV
   0406
06/05/2018
                   Welfare Check              RGV
   0506
06/05/2018
                   Welfare Check              RGV
   0604
06/05/2018
                   Welfare Check              RGV
   0705
06/05/2018
                   Welfare Check              RGV
   0708
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0708
06/05/2018
                   Welfare Check              RGV
   0800
06/05/2018
                   Welfare Check              RGV
   0930
06/05/2018
                   Welfare Check              RGV
   1015
06/05/2018
                   Welfare Check              RGV
   1115
06/05/2018
                   Welfare Check              RGV
   1207
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1207
06/05/2018
                   Welfare Check              RGV
   1230
06/05/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1230
06/05/2018
                   Welfare Check              RGV
   1317
06/05/2018
                   Welfare Check              RGV
   1408


VALENTINA U                                                                     Printed:      8/8/18
DOB:               A-File #:                                                    Page 4 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 69 of 162 Page ID
                                  #:23558
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 70 of 162 Page ID
                                  #:23559
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 71 of 162 Page ID
                                  #:23560
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 72 of 162 Page ID
                                     #:23561




Subject Activity Log


ANGEL F
                                     Gender:                M
                                     DOB:                           (13 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s): PATRICIA H




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   05/25/2018 1430
Book In Date/Time:  05/27/2018 0849
Book Out Date/Time: 05/30/2018 1006

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




ANGEL F                                                                      Printed:      7/25/18
DOB:                     A-File #:                                           Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 73 of 162 Page ID
                                      #:23562

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/25/2018
                        Arrest                 N/A
   1430
05/25/2018
                       Book In                 RGC
   1650
05/25/2018
                   Welfare Check               RGC                    1719 hours.
   1719
05/25/2018
                   Welfare Check               RGC
   1831
05/25/2018
               Served meal(Accepted)           RGC                    Hot Meal - Served meal 1830 hours.
   1831
05/25/2018
                   Welfare Check               RGC                    1910 hours.
   1913
05/26/2018
                   Welfare Check               RGC
   0443
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal - r231
   0443
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   0757
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   0757
05/26/2018
                   Welfare Check               RGC
   0757
05/26/2018
                   Welfare Check               RGC
   1000
05/26/2018
                   Welfare Check               RGC
   1100
05/26/2018
                   Welfare Check               RGC
   1200
05/26/2018
                   Welfare Check               RGC                    NOTHING TO REPORT
   1224
05/26/2018
             Snacks, Milk, Juice Provided      RGC
   1500
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   1500
05/26/2018
                   Welfare Check               RGC
   1500
05/26/2018
                   Welfare Check               RGC
   2057
05/26/2018
               Served meal(Accepted)           RGC                    Cold Meal
   2057



ANGEL F                                                                           Printed:      7/25/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 74 of 162 Page ID
                                      #:23563




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/26/2018
                 Processing Complete          RGC
   2159
05/27/2018
                    Welfare Check             RGC
   0353
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0353
05/27/2018
                    Welfare Check             RGC
   0515
05/27/2018
                Served meal(Accepted)         RGC                    Cold Meal
   0515
05/27/2018
                      In Transit              RGC                    MFT0010867009
   0758
05/27/2018
                      Received                RGV
   0849
05/27/2018
               Bodily Cleansing Product       RGV
   0919
05/27/2018
               Dental Hygiene Product         RGV
   0919
05/27/2018
               Clean Clothing Provided        RGV
   0919
05/27/2018
             Medical Screening Completed      RGV
   0919
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   0919
05/27/2018
                    Welfare Check             RGV
   0919
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   0919
05/27/2018
                   Shower Provided            RGV
   0919
05/27/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   0919                Provided
05/27/2018
                    Welfare Check             RGV
   1006
05/27/2018
                    Welfare Check             RGV
   1008
05/27/2018
                    Welfare Check             RGV
   1115
05/27/2018
                    Welfare Check             RGV
   1159
05/27/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1159


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 3 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 75 of 162 Page ID
                                      #:23564




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/27/2018
                   Welfare Check              RGV
   1305
05/27/2018
                   Welfare Check              RGV
   1403
05/27/2018
                   Welfare Check              RGV
   1500
05/27/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/27/2018
                   Welfare Check              RGV
   1603
05/27/2018
                   Welfare Check              RGV
   1706
05/27/2018
                 UAC Video Shown              RGV
   1706
05/27/2018
                   Welfare Check              RGV
   1813
05/27/2018
                   Welfare Check              RGV
   1858
05/27/2018
                   Welfare Check              RGV
   1958
05/27/2018
             Snacks, Milk, Juice Provided     RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2024
05/27/2018
                   Welfare Check              RGV
   2056
05/27/2018
                   Welfare Check              RGV
   2205
05/27/2018
                   Welfare Check              RGV
   2319
05/28/2018
                   Welfare Check              RGV
   0000
05/28/2018
                   Welfare Check              RGV
   0102
05/28/2018
                   Welfare Check              RGV
   0203
05/28/2018
             Snacks, Milk, Juice Provided     RGV                    Available Juice, Granola Bars, and cookies.
   0221
05/28/2018
                   Welfare Check              RGV
   0221
05/28/2018
                   Welfare Check              RGV
   0300


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 4 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 76 of 162 Page ID
                                      #:23565




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/28/2018
                Welfare Check          RGV
   0302
05/28/2018                                                    Cold Meal - subjects are offered food and
             Served meal(Accepted)     RGV
   0302                                                       drink
05/28/2018
                Welfare Check          RGV
   0359
05/28/2018
                Welfare Check          RGV
   0501
05/28/2018
                Welfare Check          RGV
   0632
05/28/2018
                Welfare Check          RGV
   0705
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0705
05/28/2018
                Welfare Check          RGV
   0826
05/28/2018
                Welfare Check          RGV
   1001
05/28/2018
                Welfare Check          RGV
   1115
05/28/2018
                Welfare Check          RGV
   1205
05/28/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1205
05/28/2018
                Welfare Check          RGV
   1315
05/28/2018
                Welfare Check          RGV
   1400
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1503
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1559
05/28/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1559
05/28/2018
                Welfare Check          RGV                    D166 assisted w/ checks 22k
   1656
05/28/2018
              UAC Video Shown          RGV
   1658
05/28/2018
                Welfare Check          RGV
   1812
05/28/2018
                Welfare Check          RGV
   1858


ANGEL F                                                                   Printed:      7/25/18
DOB:             -File #:                                                 Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 77 of 162 Page ID
                                      #:23566




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/28/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1900
05/28/2018
                   Welfare Check              RGV
   1959
05/28/2018
             Snacks, Milk, Juice Provided     RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2100
05/28/2018
                   Welfare Check              RGV
   2158
05/29/2018
                   Welfare Check              RGV
   0018
05/29/2018
                   Welfare Check              RGV
   0108
05/29/2018
                   Welfare Check              RGV
   0225
05/29/2018
                   Welfare Check              RGV
   0312
05/29/2018
                   Welfare Check              RGV
   0405
05/29/2018
                   Welfare Check              RGV
   0506
05/29/2018
                   Welfare Check              RGV
   0607
05/29/2018
                   Welfare Check              RGV
   0700
05/29/2018
                   Welfare Check              RGV
   0832
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0832
05/29/2018
                   Welfare Check              RGV
   1030
05/29/2018
                   Welfare Check              RGV
   1130
05/29/2018
                   Welfare Check              RGV
   1230
05/29/2018
                  Shower Provided             RGV
   1330
05/29/2018
                   Welfare Check              RGV
   1357
05/29/2018
                   Welfare Check              RGV
   1415


ANGEL F                                                                          Printed:      7/25/18
DOB:                -File #:                                                     Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 78 of 162 Page ID
                                      #:23567




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1415
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                   Welfare Check              RGV
   1600
05/29/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                   Welfare Check              RGV
   1658
05/29/2018
                 UAC Video Shown              RGV
   1658
05/29/2018
             Rejoined With Family Unit        RGV
   1743
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Perm Book Out              RGV
   1006


ANGEL F                                                                          Printed:      7/25/18
DOB:               A-File #:                                                     Page 7 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 79 of 162 Page ID
                                      #:23568




                                 Station /
Date/Time         Activity                   Agent Name             Comments
                                 Facility
05/30/2018
                Welfare Check      RGV
   1007




ANGEL F                                                        Printed:      7/25/18
DOB:           A-File #:                                       Page 8 of 8
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 80 of 162 Page ID
                                     #:23569




Subject Activity Log


JOSUE P
                                     Gender:                M
                                     DOB:                          (14 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s): HERLINDA S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/20/2018 2300
Book In Date/Time:  06/22/2018 1356
Book Out Date/Time: 06/26/2018 1017

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




JOSUE P                                                                     Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 81 of 162 Page ID
                                  #:23570
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 82 of 162 Page ID
                                      #:23571




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/22/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1733
06/22/2018
                   Welfare Check              RGV
   1813
06/22/2018
                   Welfare Check              RGV
   1904
06/23/2018
                   Welfare Check              RGV
   0304
06/23/2018
                   Welfare Check              RGV
   0752
06/23/2018
                   Welfare Check              RGV
   0802
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0802
06/23/2018
                   Welfare Check              RGV
   1000
06/23/2018
                   Welfare Check              RGV
   1100
06/23/2018
                   Welfare Check              RGV
   1243
06/23/2018
                   Welfare Check              RGV
   1247
06/23/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1247
06/23/2018
                   Welfare Check              RGV
   1300
06/23/2018
                   Welfare Check              RGV
   1513
06/23/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1513
06/23/2018
                   Welfare Check              RGV
   1552
06/23/2018
                   Welfare Check              RGV
   1703
06/23/2018
                   Welfare Check              RGV
   1752
06/23/2018
                   Welfare Check              RGV
   1858
06/23/2018
             Snacks, Milk, Juice Provided     RGV
   2001
06/23/2018
                   Welfare Check              RGV
   2001


JOSUE P                                                                          Printed:      8/11/18
DOB:                -File #                                                      Page 3 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 83 of 162 Page ID
                                  #:23572
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 84 of 162 Page ID
                                      #:23573




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/24/2018
               Dental Hygiene Product         RGV
   1325
06/24/2018
               Clean Clothing Provided        RGV
   1325
06/24/2018
                    Welfare Check             RGV
   1325
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   1325
06/24/2018
                   Shower Provided            RGV
   1325
06/24/2018   Sleeping Cot/Mat and Blanket
                                              RGV
   1325                Provided
06/24/2018
                    Welfare Check             RGV
   1358
06/24/2018
                Served meal(Accepted)         RGV                    Hot Meal
   1358
06/24/2018
                    Welfare Check             RGV
   1413
06/24/2018
                    Welfare Check             RGV
   1510
06/24/2018
                    Welfare Check             RGV
   1604
06/24/2018
                    Welfare Check             RGV
   1605
06/24/2018
                Served meal(Accepted)         RGV                    Cold Meal
   1605
06/24/2018
                    Welfare Check             RGV
   1701
06/24/2018
                    Welfare Check             RGV
   1815
06/24/2018
                    Welfare Check             RGV
   1909
06/24/2018
             Snacks, Milk, Juice Provided     RGV
   2016
06/24/2018
                    Welfare Check             RGV
   2016
06/24/2018
                 Processing Complete          RGV
   2048
06/24/2018
                    Welfare Check             RGV
   2109
06/24/2018
                    Welfare Check             RGV
   2203


JOSUE P                                                                          Printed:      8/11/18
DOB:               A-File #:                                                     Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 85 of 162 Page ID
                                      #:23574




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/24/2018
                Welfare Check          RGV
   2229
06/24/2018
             Served meal(Accepted)     RGV                    Cold Meal - snacks
   2229
06/24/2018
                Welfare Check          RGV
   2309
06/25/2018
                Welfare Check          RGV
   0018
06/25/2018
                Welfare Check          RGV
   0101
06/25/2018
                Welfare Check          RGV
   0122
06/25/2018
                Welfare Check          RGV
   0205
06/25/2018
                Welfare Check          RGV
   0304
06/25/2018
                Welfare Check          RGV
   0308
06/25/2018
                Welfare Check          RGV
   0407
06/25/2018
                Welfare Check          RGV
   0511
06/25/2018
                Welfare Check          RGV
   0648
06/25/2018
                Welfare Check          RGV
   0649
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0649
06/25/2018
              UAC Video Shown          RGV
   0650
06/25/2018
                Welfare Check          RGV
   0707
06/25/2018
                Welfare Check          RGV
   0744
06/25/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0744
06/25/2018
                Welfare Check          RGV
   0830
06/25/2018
                Welfare Check          RGV
   1021
06/25/2018
                Welfare Check          RGV
   1318


JOSUE                                                                    Printed:      8/11/18
DOB:             -File #:                                                Page 6 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 86 of 162 Page ID
                                      #:23575




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/25/2018
               Served meal(Accepted)          RGV                    Hot Meal
   1318
06/25/2018
                   Welfare Check              RGV
   1400
06/25/2018
                   Welfare Check              RGV
   1434
06/25/2018
                   Welfare Check              RGV
   1507
06/25/2018
                   Welfare Check              RGV
   1609
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1609
06/25/2018
                   Welfare Check              RGV
   1612
06/25/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1612
06/25/2018
                   Welfare Check              RGV
   1726
06/25/2018
                   Welfare Check              RGV
   1828
06/25/2018
                   Welfare Check              RGV
   1909
06/25/2018
             Rejoined With Family Unit        RGV                    reunited with family units for 15 minutes.
   1913
06/25/2018
                   Welfare Check              RGV
   2001
06/25/2018
                   Welfare Check              RGV
   2111
06/25/2018
                   Welfare Check              RGV
   2143
06/25/2018
             Snacks, Milk, Juice Provided     RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2201
06/25/2018
                   Welfare Check              RGV
   2243
06/25/2018
                   Welfare Check              RGV
   2314
06/26/2018
                   Welfare Check              RGV
   0005
06/26/2018
                   Welfare Check              RGV
   0120


JOSUE P                                                                          Printed:      8/11/18
DOB:                -File #:                                                     Page 7 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 87 of 162 Page ID
                                  #:23576
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 88 of 162 Page ID
                                     #:23577




Subject Activity Log


ALISSON P
                                     Gender:                F
                                     DOB:                          3 yoa)
                                     Nationality:           GUATEMALA
                                     Accompanying Adult(s): MAIRA       S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/04/2018 2350
Book In Date/Time:  06/05/2018 1531
Book Out Date/Time: 06/06/2018 1139

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




ALISSON P                                                                   Printed:      8/11/18
DOB:                     A-File #:                                          Page 1 of 3
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 89 of 162 Page ID
                                  #:23578
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 90 of 162 Page ID
                                  #:23579
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 91 of 162 Page ID
                                     #:23580




Subject Activity Log


YANELA V
                                     Gender:                F
                                     DOB:                          1 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s): SANDRA        S




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/12/2018 2300
Book In Date/Time:  06/13/2018 1205
Book Out Date/Time: 06/17/2018 1142

Processing Agent:
Transport Officer:
Apprehending Agents

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




YANELA V                                                                    Printed:      7/26/18
DOB:                     A-File #:                                          Page 1 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 92 of 162 Page ID
                                      #:23581

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
06/12/2018
                        Arrest                 N/A
   2300
06/13/2018
                       Book In                 MCS
   0029
06/13/2018
                    Welfare Check              MCS
   0825
06/13/2018
                    Welfare Check              MCS
   0827
06/13/2018
                Served meal(Accepted)          MCS                    Cold Meal
   0827
06/13/2018
                    Welfare Check              MCS
   0922
06/13/2018                                                            all subjects appear to be in good health at
                    Welfare Check              MCS
   1048                                                               this time.
06/13/2018
                      In Transit               MCS
   1132
06/13/2018
                      Received                 RGV
   1205
06/13/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1206                Provided
06/13/2018
             Medical Screening Completed       RGV
   1206
06/13/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1206
06/13/2018
                    Welfare Check              RGV
   1206
06/13/2018
                   Shower Provided             RGV
   1206
06/13/2018
                    Welfare Check              RGV
   1259
06/13/2018
                    Welfare Check              RGV
   1357
06/13/2018
                    Welfare Check              RGV
   1526
06/13/2018
                    Welfare Check              RGV
   1614
06/13/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1614
06/13/2018
                    Welfare Check              RGV
   1622



YANELA V                                                                          Printed:      7/26/18
DOB:                        A-File #:                                             Page 2 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 93 of 162 Page ID
                                      #:23582




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/13/2018
                Welfare Check          RGV
   1805
06/13/2018
                Welfare Check          RGV
   1816
06/13/2018
                Welfare Check          RGV
   1911
06/13/2018
                Welfare Check          RGV
   1924
06/13/2018
                Welfare Check          RGV
   2022
06/13/2018
                Welfare Check          RGV
   2103
06/13/2018
                Welfare Check          RGV
   2300
06/14/2018
                Welfare Check          RGV
   0001
06/14/2018
                Welfare Check          RGV
   0100
06/14/2018
                Welfare Check          RGV
   0200
06/14/2018
                Welfare Check          RGV
   0303
06/14/2018
                Welfare Check          RGV
   0306
06/14/2018
                Welfare Check          RGV
   0401
06/14/2018
                Welfare Check          RGV
   0501
06/14/2018
                Welfare Check          RGV
   0733
06/14/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0733
06/14/2018
                Welfare Check          RGV
   0801
06/14/2018
                Welfare Check          RGV
   0905
06/14/2018
                Welfare Check          RGV
   1012
06/14/2018
                Welfare Check          RGV
   1100
06/14/2018
                Welfare Check          RGV
   1221


YANELA V                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 3 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 94 of 162 Page ID
                                  #:23583
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 95 of 162 Page ID
                                      #:23584




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/15/2018
                  Welfare Check            RGV
   0400
06/15/2018
                  Welfare Check            RGV
   0500
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   0700
06/15/2018
                  Welfare Check            RGV
   0712
06/15/2018
                  Welfare Check            RGV
   0800
06/15/2018
                  Welfare Check            RGV
   1038
06/15/2018
                  Welfare Check            RGV
   1147
06/15/2018
                  Welfare Check            RGV
   1207
06/15/2018
              Served meal(Accepted)        RGV                    Hot Meal
   1207
06/15/2018
               Processing Complete         RGV
   1256
06/15/2018
                  Welfare Check            RGV
   1318
06/15/2018
                  Welfare Check            RGV
   1400
06/15/2018
                  Welfare Check            RGV
   1500
06/15/2018
                  Welfare Check            RGV
   1538
06/15/2018
                  Welfare Check            RGV
   1600
06/15/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1600
06/15/2018
                  Welfare Check            RGV
   1701
06/15/2018
                  Welfare Check            RGV
   1800
06/15/2018
             Rejoined With Family Unit     RGV                    Family visit
   1800
06/15/2018
              Separated from Family        RGV                    Cell - Operationally infeasible.
   1830
06/15/2018
                  Welfare Check            RGV
   1901


YANELA V                                                                      Printed:      7/26/18
DOB:               -File #:                                                   Page 5 of 8
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 96 of 162 Page ID
                                      #:23585




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/15/2018
             Snacks, Milk, Juice Provided     RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2008
06/15/2018
                   Welfare Check              RGV
   2105
06/15/2018
                   Welfare Check              RGV
   2202
06/15/2018
                   Welfare Check              RGV
   2300
06/16/2018
                   Welfare Check              RGV
   0207
06/16/2018
                   Welfare Check              RGV
   0302
06/16/2018
                   Welfare Check              RGV
   0403
06/16/2018
                   Welfare Check              RGV
   0523
06/16/2018
                   Welfare Check              RGV
   0742
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   0742
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0742
06/16/2018
                   Welfare Check              RGV
   0748
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   0748
06/16/2018
                   Welfare Check              RGV
   0749
06/16/2018
                   Welfare Check              RGV
   0914
06/16/2018
                   Welfare Check              RGV
   1153
06/16/2018
                  Shower Provided             RGV
   1200
06/16/2018
                   Welfare Check              RGV
   1245
06/16/2018
                 UAC Video Shown              RGV                    know what to expect
   1245
06/16/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1245


YANELA V                                                                       Printed:      7/26/18
DOB:               A-File #:                                                   Page 6 of 8
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 97 of 162 Page ID
                                  #:23586
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 98 of 162 Page ID
                                      #:23587




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Perm Book Out          RGV
   1142




YANELA V                                                                 Printed:      7/26/18
DOB:            A-File #:                                                Page 8 of 8
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 99 of 162 Page ID
                                     #:23588




Subject Activity Log


NOREDITH P
                                     Gender:                F
                                     DOB:                           15 yoa)
                                     Nationality:           MEXICO
                                     Accompanying Adult(s): ROCIO M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   06/09/2018 2245
Book In Date/Time:  06/10/2018 1547
Book Out Date/Time: 06/11/2018 1107

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




NOREDITH P                                                                  Printed:      8/7/18
DOB:                     A-File #:                                          Page 1 of 4
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 100 of 162 Page ID
                                  #:23589
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 101 of 162 Page ID
                                  #:23590
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 102 of 162 Page ID
                                      #:23591




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
06/11/2018
             Served meal(Accepted)     RGV                    Hot Meal - fed
   0721
06/11/2018
                Welfare Check          RGV
   0731
06/11/2018
                Welfare Check          RGV
   0824
06/11/2018
                Welfare Check          RGV
   0929
06/11/2018
                Perm Book Out          RGV
   1107




NOREDITH P                                                              Printed:      8/7/18
DOB:             -File #:                                               Page 4 of 4
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 103 of 162 Page ID
                                     #:23592




Subject Activity Log


DANIELLA A
                                     Gender:                F
                                     DOB:                           (2 yoa)
                                     Nationality:           EL SALVADOR
                                     Accompanying Adult(s): BRISEYDA                       M




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                  Detention Reasons:
No Medical Conditions Found                          Immigration Violation




Arrest Date/Time:   06/15/2018 1730
Book In Date/Time:  06/15/2018 2352
Book Out Date/Time: 06/19/2018 1053

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                      Expresses Fear of Return?




DANIELLA A                                                                   Printed:      8/2/18
DOB:                     A-File #:                                           Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 104 of 162 Page ID
                                      #:23593

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                   Comments
                                             Facility
06/15/2018
                        Arrest                 N/A
   1730
06/15/2018
                       Book In                 MCS
   1834
06/15/2018
                    Welfare Check              MCS
   1921
06/15/2018
                    Welfare Check              MCS
   1955
06/15/2018
                    Welfare Check              MCS
   2014
06/15/2018
             Snacks, Milk, Juice Provided      MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2025
06/15/2018
                    Welfare Check              MCS
   2112
06/15/2018
                    Welfare Check              MCS
   2141
06/15/2018
                      In Transit               MCS
   2314
06/15/2018
                      Received                 RGV
   2352
06/15/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   2353                Provided
06/15/2018
             Medical Screening Completed       RGV
   2353
06/15/2018                                                            subjects will be offered a shower at
                        Other                  RGV
   2353                                                               0700hrs
06/15/2018
                    Welfare Check              RGV
   2353
06/16/2018
                    Welfare Check              RGV
   0207
06/16/2018
                    Welfare Check              RGV
   0302
06/16/2018
                    Welfare Check              RGV
   0403
06/16/2018
                    Welfare Check              RGV
   0523
06/16/2018
                    Welfare Check              RGV
   0742



DANIELLA A                                                                       Printed:      8/2/18
DOB:                        A-File #:                                            Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 105 of 162 Page ID
                                      #:23594




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   0742
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0742
06/16/2018
                  Welfare Check            RGV
   0748
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   0748
06/16/2018
                  Welfare Check            RGV
   0749
06/16/2018
                  Welfare Check            RGV
   0914
06/16/2018
                  Welfare Check            RGV
   1153
06/16/2018
                  Welfare Check            RGV
   1245
06/16/2018
                UAC Video Shown            RGV                    know what to expect
   1245
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1245
06/16/2018
                  Welfare Check            RGV
   1253
06/16/2018
              Served meal(Accepted)        RGV                    Hot Meal - fed
   1253
06/16/2018
                  Welfare Check            RGV
   1319
06/16/2018
                  Welfare Check            RGV
   1404
06/16/2018
                  Welfare Check            RGV
   1458
06/16/2018
                  Welfare Check            RGV
   1557
06/16/2018
                  Welfare Check            RGV
   1658
06/16/2018
              Served meal(Accepted)        RGV                    Cold Meal
   1658
06/16/2018
                  Welfare Check            RGV
   1753
06/16/2018
             Rejoined With Family Unit     RGV
   1800
06/16/2018
                  Welfare Check            RGV
   1904


DANIELLA A                                                                    Printed:      8/2/18
DOB:              A-File #:                                                   Page 3 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 106 of 162 Page ID
                                      #:23595




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/16/2018
                Welfare Check          RGV
   2052
06/16/2018
                Welfare Check          RGV
   2247
06/17/2018
                Welfare Check          RGV
   0028
06/17/2018
                Welfare Check          RGV
   0100
06/17/2018
                Welfare Check          RGV
   0200
06/17/2018
                Welfare Check          RGV
   0302
06/17/2018
                Welfare Check          RGV
   0400
06/17/2018
                Welfare Check          RGV
   0405
06/17/2018
                Welfare Check          RGV
   0500
06/17/2018
                Welfare Check          RGV
   0559
06/17/2018
                Welfare Check          RGV
   0654
06/17/2018
                Welfare Check          RGV
   0700
06/17/2018
                Welfare Check          RGV
   0736
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0736
06/17/2018
                Welfare Check          RGV
   0822
06/17/2018
                Welfare Check          RGV
   0903
06/17/2018
                Welfare Check          RGV
   1004
06/17/2018
                Welfare Check          RGV
   1105
06/17/2018
                Welfare Check          RGV
   1206
06/17/2018
                Welfare Check          RGV
   1208
06/17/2018
             Served meal(Accepted)     RGV                    Hot Meal
   1208


DANIELLA A                                                               Printed:      8/2/18
DOB:             -File #:                                                Page 4 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 107 of 162 Page ID
                                      #:23596




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
06/17/2018
                   Welfare Check              RGV
   1305
06/17/2018
              Bodily Cleansing Product        RGV
   1401
06/17/2018
               Dental Hygiene Product         RGV
   1401
06/17/2018
               Clean Clothing Provided        RGV
   1401
06/17/2018
                  Shower Provided             RGV
   1401
06/17/2018
                   Welfare Check              RGV
   1402
06/17/2018
                   Welfare Check              RGV
   1504
06/17/2018
                   Welfare Check              RGV
   1602
06/17/2018
                Processing Complete           RGV
   1657
06/17/2018
                   Welfare Check              RGV
   1702
06/17/2018
                   Welfare Check              RGV
   1704
06/17/2018
               Served meal(Accepted)          RGV                    Cold Meal
   1704
06/17/2018
                   Welfare Check              RGV
   1922
06/17/2018
                   Welfare Check              RGV
   2000
06/17/2018
                   Welfare Check              RGV
   2120
06/17/2018
             Snacks, Milk, Juice Provided     RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2228
06/17/2018
                   Welfare Check              RGV
   2356
06/18/2018
                   Welfare Check              RGV
   0059
06/18/2018
                   Welfare Check              RGV
   0150
06/18/2018
                   Welfare Check              RGV
   0210


DANIELLA A                                                                       Printed:      8/2/18
DOB:                -File #:                                                     Page 5 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 108 of 162 Page ID
                                      #:23597




                                         Station /
Date/Time            Activity                        Agent Name                    Comments
                                         Facility
06/18/2018
                   Welfare Check           RGV
   0308
06/18/2018
                   Welfare Check           RGV
   0402
06/18/2018
                   Welfare Check           RGV
   0505
06/18/2018
                   Welfare Check           RGV
   0551
06/18/2018
                   Welfare Check           RGV
   0700
06/18/2018
               Served meal(Accepted)       RGV                    Hot Meal
   0701
06/18/2018
                   Welfare Check           RGV
   0800
06/18/2018
                   Welfare Check           RGV
   0900
06/18/2018
                   Welfare Check           RGV
   1002
06/18/2018
                   Welfare Check           RGV
   1100
06/18/2018
                   Welfare Check           RGV
   1200
06/18/2018
               Served meal(Accepted)       RGV                    Hot Meal
   1223
06/18/2018
                   Welfare Check           RGV
   1300
06/18/2018
                   Welfare Check           RGV
   1403
06/18/2018
                   Welfare Check           RGV
   1530
06/18/2018
                   Welfare Check           RGV
   1600
06/18/2018
               Served meal(Accepted)       RGV                    Cold Meal
   1600
06/18/2018
                   Welfare Check           RGV
   1700
06/18/2018
                   Welfare Check           RGV
   1800
06/18/2018
             Rejoined With Family Unit     RGV
   1800
06/18/2018
             Rejoined With Family Unit     RGV                    Family visit.
   1801


DANIELLA A                                                                    Printed:      8/2/18
DOB:             A-File #:                                                    Page 6 of 7
Event: MCS1806000564
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 109 of 162 Page ID
                                      #:23598




                                            Station /
Date/Time             Activity                          Agent Name                   Comments
                                            Facility
06/18/2018
               Separated from Family          RGV                    Cell - Operationally infeasible.
   1845
06/18/2018
                   Welfare Check              RGV
   1904
06/18/2018
             Snacks, Milk, Juice Provided     RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2004
06/18/2018
                   Welfare Check              RGV
   2105
06/18/2018
                   Welfare Check              RGV
   2207
06/18/2018
                   Welfare Check              RGV
   2309
06/19/2018
                   Welfare Check              RGV
   0007
06/19/2018
                   Welfare Check              RGV
   0124
06/19/2018
                   Welfare Check              RGV
   0216
06/19/2018
                   Welfare Check              RGV
   0340
06/19/2018
                   Welfare Check              RGV
   0425
06/19/2018
                   Welfare Check              RGV
   0508
06/19/2018
                   Welfare Check              RGV
   0609
06/19/2018
                   Welfare Check              RGV
   0700
06/19/2018
                   Welfare Check              RGV
   0714
06/19/2018
               Served meal(Accepted)          RGV                    Hot Meal
   0714
06/19/2018
                   Welfare Check              RGV
   0800
06/19/2018
                   Perm Book Out              RGV
   1053




DANIELLA A                                                                      Printed:      8/2/18
DOB:               A-File #:                                                    Page 7 of 7
Event:
   Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 110 of 162 Page ID
                                     #:23599




Subject Activity Log


BLANCA P
                                     Gender:                F
                                     DOB:                         (17 yoa)
                                     Nationality:           HONDURAS
                                     Accompanying Adult(s):




                                     Event:
                                     A-File #:
                                     FINS #:
                                     Disposition:
Medical Conditions:                                 Detention Reasons:
No Medical Conditions Found                         Immigration Violation




Arrest Date/Time:   05/29/2018 0100
Book In Date/Time:  05/29/2018 1112
Book Out Date/Time: 06/01/2018 1346

Processing Agent:
Transport Officer:
Apprehending Agents:

ORR Facility:

Possible Trafficking?                                     Expresses Fear of Return?




BLANCA P                                                                    Printed:      8/8/18
DOB:                     A-File #:                                          Page 1 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 111 of 162 Page ID
                                      #:23600

                                            Subject Activity Log


                                             Station /
Date/Time             Activity                           Agent Name                    Comments
                                             Facility
05/29/2018
                        Arrest                 N/A
   0100
05/29/2018
                       Book In                 MCS
   0332
05/29/2018
                    Welfare Check              MCS
   0747
05/29/2018
                      In Transit               MCS
   0848
05/29/2018
                      Received                 RGV
   1112
05/29/2018
                    Welfare Check              RGV
   1130
05/29/2018   Sleeping Cot/Mat and Blanket
                                               RGV
   1137                Provided
05/29/2018
              Medical Treatment (OBP)          RGV
   1137
05/29/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1137
05/29/2018
                    Welfare Check              RGV
   1137
05/29/2018
                   Shower Provided             RGV
   1137
05/29/2018
                    Welfare Check              RGV
   1230
05/29/2018
                    Welfare Check              RGV
   1357
05/29/2018
                    Welfare Check              RGV
   1415
05/29/2018
                Served meal(Accepted)          RGV                    Hot Meal
   1415
05/29/2018
                    Welfare Check              RGV                    D166 assisted with checks on the 22k side
   1510
05/29/2018
                    Welfare Check              RGV
   1600
05/29/2018
                Served meal(Accepted)          RGV                    Cold Meal
   1600
05/29/2018
                    Welfare Check              RGV
   1658
05/29/2018
                 UAC Video Shown               RGV
   1658



BLANCA P                                                                          Printed:      8/8/18
DOB:                        A-File #:                                             Page 2 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 112 of 162 Page ID
                                      #:23601




                                            Station /
Date/Time             Activity                          Agent Name                    Comments
                                            Facility
05/29/2018
             Rejoined With Family Unit        RGV
   1743
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   1857
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2003
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2059
05/29/2018
             Snacks, Milk, Juice Provided     RGV
   2204
05/29/2018
                   Welfare Check              RGV                    D166 assisted with checks on 22K side
   2204
05/30/2018
                   Welfare Check              RGV
   0017
05/30/2018
                   Welfare Check              RGV
   0216
05/30/2018
                   Welfare Check              RGV
   0307
05/30/2018
                   Welfare Check              RGV
   0409
05/30/2018
                   Welfare Check              RGV
   0652
05/30/2018
                   Welfare Check              RGV
   0711
05/30/2018
                   Welfare Check              RGV
   0904
05/30/2018
                   Welfare Check              RGV
   1007
05/30/2018
                   Welfare Check              RGV
   1055
05/30/2018
                 UAC Video Shown              RGV                    know what to expect
   1055
05/30/2018
               Served meal(Accepted)          RGV                    Hot Meal - fed
   1055
05/30/2018
               FOJC and ORR Notified          RGV                    Transaction ID:
   1059
05/30/2018
                   Welfare Check              RGV
   1109
05/30/2018
                   Welfare Check              RGV
   1231


BLANCA P                                                                       Printed:      8/8/18
DOB:               A-File #:                                                   Page 3 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 113 of 162 Page ID
                                  #:23602
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 114 of 162 Page ID
                                  #:23603
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 115 of 162 Page ID
                                      #:23604




                                     Station /
Date/Time          Activity                      Agent Name                    Comments
                                     Facility
05/31/2018
                Welfare Check          RGV
   1404
05/31/2018
                Welfare Check          RGV
   1455
05/31/2018
                Welfare Check          RGV
   1559
05/31/2018
                Welfare Check          RGV
   1600
05/31/2018
             Served meal(Accepted)     RGV                    Cold Meal
   1600
05/31/2018
                Welfare Check          RGV
   1700
05/31/2018
                Welfare Check          RGV
   1808
05/31/2018
                Welfare Check          RGV
   2000
05/31/2018
                Welfare Check          RGV
   2113
05/31/2018
                Welfare Check          RGV
   2230
05/31/2018
                Welfare Check          RGV
   2331
06/01/2018
                Welfare Check          RGV
   0022
06/01/2018
                Welfare Check          RGV
   0106
06/01/2018
                Welfare Check          RGV
   0207
06/01/2018
                Welfare Check          RGV
   0306
06/01/2018
                Welfare Check          RGV
   0404
06/01/2018
                Welfare Check          RGV
   0515
06/01/2018
                Welfare Check          RGV
   0605
06/01/2018
                Welfare Check          RGV
   0606
06/01/2018
                Welfare Check          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0700


BLANCA P                                                                  Printed:      8/8/18
DOB:             -File #:                                                 Page 6 of 7
Event:
    Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 116 of 162 Page ID
                                      #:23605




                                     Station /
Date/Time          Activity                      Agent Name                   Comments
                                     Facility
06/01/2018
              UAC Video Shown          RGV
   0700
06/01/2018
             Served meal(Accepted)     RGV                    Hot Meal
   0725
06/01/2018
                Welfare Check          RGV
   0825
06/01/2018                                                    UAC was reunified with mother after Zero
                UAC72 - Other          RGV
   0853                                                       T
06/01/2018
                Perm Book Out          RGV                    MFT0010870621
   1346




BLANCA P                                                                 Printed:      8/8/18
DOB:             -File #:                                                Page 7 of 7
Event:
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 117 of 162 Page ID
                                  #:23606
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 118 of 162 Page ID
                                  #:23607
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 119 of 162 Page ID
                                  #:23608
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 120 of 162 Page ID
                                  #:23609
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 121 of 162 Page ID
                                  #:23610
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 122 of 162 Page ID
                                  #:23611
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 123 of 162 Page ID
                                  #:23612
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 124 of 162 Page ID
                                  #:23613
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 125 of 162 Page ID
                                  #:23614
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 126 of 162 Page ID
                                  #:23615
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 127 of 162 Page ID
                                  #:23616
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 128 of 162 Page ID
                                  #:23617
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 129 of 162 Page ID
                                  #:23618
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 130 of 162 Page ID
                                  #:23619
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 131 of 162 Page ID
                                  #:23620
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 132 of 162 Page ID
                                  #:23621
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 133 of 162 Page ID
                                  #:23622
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 134 of 162 Page ID
                                  #:23623
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 135 of 162 Page ID
                                  #:23624
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 136 of 162 Page ID
                                  #:23625
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 137 of 162 Page ID
                                  #:23626
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 138 of 162 Page ID
                                  #:23627
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 139 of 162 Page ID
                                  #:23628
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 140 of 162 Page ID
                                  #:23629
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 141 of 162 Page ID
                                  #:23630
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 142 of 162 Page ID
                                  #:23631
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 143 of 162 Page ID
                                  #:23632
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 144 of 162 Page ID
                                  #:23633
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 145 of 162 Page ID
                                  #:23634
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 146 of 162 Page ID
                                  #:23635
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 147 of 162 Page ID
                                  #:23636
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 148 of 162 Page ID
                                  #:23637
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 149 of 162 Page ID
                                  #:23638
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 150 of 162 Page ID
                                  #:23639
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 151 of 162 Page ID
                                  #:23640
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 152 of 162 Page ID
                                  #:23641
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 153 of 162 Page ID
                                  #:23642
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 154 of 162 Page ID
                                  #:23643
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 155 of 162 Page ID
                                  #:23644
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 156 of 162 Page ID
                                  #:23645
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 157 of 162 Page ID
                                  #:23646
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 158 of 162 Page ID
                                  #:23647
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 159 of 162 Page ID
                                  #:23648
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 160 of 162 Page ID
                                  #:23649
Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 161 of 162 Page ID
                                  #:23650
                         Case 2:85-cv-04544-DMG-AGR Document 475-3 Filed 08/24/18 Page 162 of 162 Page ID
7/26/2018                                                  #:23651
                   SBJLOC_BOOK_IN   SBJLOC_BOOK_OUT
SITE CELL NAME           DT                DT       CIV_NAME            AGE EVNT_NBR   AR_REPORT_DTTM COMP AMENITIES     COMMENTS



      Amenities: BJW-Bottled/Jug Water; NPW-Non-Potable-Water; PW-Potable-Water; S-Sink; TOI-Toilet; WF-Water Fountain
      General Amenity: CLEAN-Is Cell Clean?; PEST-Is Cell Pest Free?; TEMP-Temperature (66 - 80) degrees; VENT-Is Cell




                                                                                                              36
